      Case 2:21-cv-00276 Document 35 Filed on 12/01/22 in TXSD Page 1 of 1
                                                                                 United States District Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                                                                                  December 01, 2022
                            UNITED STATES DISTRICT COURT                           Nathan Ochsner, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                               CORPUS CHRISTI DIVISION

PAUL BRUNSVOLD,                               §
                                              §
        Plaintiff,                            §
VS.                                           §   CIVIL ACTION NO. 2:21 -CV-276
                                              §
CTCI AMERICAS, INC.,                          §
                                              §
        Defendant.                            §

                                   FINAL JUDGMENT

       Pursuant to the Court' s order granting Defendant CTCI Americas, Inc.'s motion for

summary judgment and denying Plaintiff Paul Brunsvold' s motion for partial summary judgment,

the Court enters final judgment dismissing with prejudice all claims against Defendant in this

cause. FED. R. C1v. P. 58 . The Clerk of Court is DIRECTED to CLOSE this case.

       SO ORDERED.



                                                  D     S. ORALES
                                                  UNITED STATES DISTRICT JUDGE


Dated: Corpus Christ~ Texas
       December _j_!___, 2022




1/1
